                                                                                  EXHIBIT 1

                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

WILLIAM T. COOPER, JAY R.                          )
HOLCOMB, JEFFERY D. JOHNSON,                       )
JEREMY S. STOELTING, and JAMES D.                  )
PATTON,                                            )
                                                   )
                      Plaintiffs,                  ) Case No. 1:17-CV-00073-ACL
                                                   )
       v.                                          ) JURY TRIAL DEMANDED
                                                   )
                                                   )
CORY HUTCHESON,                                    )
                                                   )
and                                                )
                                                   )
SECURUS TECHNOLOGIES, INC.,                        )
Serve: CT Corporation System, Reg. Agent           )
       120 South Central Avenue                    )
       Clayton, MO 63105                           )
                                                   )
                      Defendants.                  )

                             SECOND AMENDED COMPLAINT

       COME NOW Plaintiffs William T. Cooper, Jay R. Holcomb, Jeffery D. Johnson, Jeremy

S. Stoelting, and James D. Patton (“Plaintiffs”), by counsel, and for their Second Amended

Complaint against Defendants Cory Hutcheson (“Mr. Hutcheson”) and Securus Technologies,

Inc. (“Securus”) (collectively “Defendants”), state as follows:

       1.      This is a civil action seeking money damages against Defendants for committing

acts under color of state law which deprived Plaintiffs of their rights secured under the

Constitution and laws of the United States and also the laws of the State of Missouri.

                                            PARTIES

       2.      Plaintiff William T. Cooper is a resident of New Madrid County, Missouri.

       3.      Plaintiff Jay R. Holcomb is a resident of Stoddard County, Missouri.
          4.    Plaintiff Jeffery D. Johnson is a resident of Ripley County, Missouri.

          5.    Plaintiff Jeremy S. Stoelting is a resident of Dunklin County, Missouri.

          6.    Plaintiff James D. Patton is a resident of New Madrid County, Missouri.

          7.    Plaintiffs are members of the Missouri State Highway Patrol.

          8.    At all relevant times, Mr. Hutcheson was the duly elected Sheriff of Mississippi

County, Missouri, and/or was an employee of the Mississippi County Sheriff’s Department.

          9.    Mr. Hutcheson is sued in his official and individual capacity and, at all times

referenced herein, was acting under the color of the laws, statutes, ordinances, policies, customs

and usages of the State of Missouri or was acting in active concert with others who were so

acting.

          10.   Securus is a Delaware corporation with its principal place of business in Texas.

          11.   Securus is registered to do business in Missouri and the allegations contained

herein relate to Securus’s business activities in Missouri.

                                         JURISDICTION

          12.   This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, the Fourth and

Fourteenth Amendments to the United States Constitution, 28 U.S.C. §§ 2701 et seq., as well as

pendent state law tort claims.

          13.   This Court has jurisdiction over this action pursuant to 42 U.S.C. § 1983, 28

U.S.C. §§1331, 1343 and 1367.

          14.   This Court has personal jurisdiction over Mr. Hutcheson because he is a citizen of

Missouri and all actions committed by him as alleged herein were committed within Missouri.

          15.   This Court has personal jurisdiction over Securus because it is registered to do

business in Missouri and is doing business in Missouri as alleged herein. Among other things,



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Securus entered into contracts with Mississippi County, Missouri and also committed torts

within Missouri, bringing Securus within the purview of the Missouri long-arm statute.

                                               VENUE

         16.    Venue is proper under 28 U.S.C. § 1391 because the Mr. Hutcheson is a resident

of Mississippi County, Missouri and because a substantial part of the events giving rise to

Plaintiffs’ claims occurred in Mississippi County, Missouri.

                             FACTS COMMON TO ALL COUNTS

         17.    Securus is a company that provides communications systems, call management,

and other services to law enforcement agencies and correctional facilities.

         18.    One service that Securus provides is the ability to “ping” an individual’s cell

phone.

         19.    Securus can “ping” a cell phone and provide location information of cell-phone

users through its service known as “Location Based Services” (“LBS”).

         20.    To “ping” a cell phone, a law enforcement officer provides Securus with an

individual’s cell phone number and other information.

         21.    In return, Securus provides the law enforcement officer the location of the cell

phone in near real time, as well as other information personal to the cell phone user.

         22.    “Pinging” a cell phone may be useful in furtherance of legitimate law

enforcement investigations and/or emergency situations.

         23.    However, “pinging” a cell phone without permission and/or without proper legal

process is a violation of a citizen’s constitutional rights.

         24.    Mr. Hutcheson used the Securus platform to obtain the location of Plaintiffs on

multiple occasions.



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       25.     Mr. Hutcheson obtained Plaintiffs’ location information while acting as an

employee of Mississippi County, Missouri, and/or as Sheriff of Mississippi County, Missouri.

       26.     Mr. Hutcheson did not perform a proper investigation and/or submit the legal

process necessary to obtain Plaintiffs’ location information.

       27.     Mr. Hutcheson did not have Plaintiffs’ permission to obtain Plaintiffs’ location

information.

       28.     In order to obtain the location of a cell phone, the Securus client (here Mr.

Hutcheson) accesses the Securus platform via a computer.

       29.     Securus provides a platform and software to its users that allows users to “ping” a

cell phone by simply typing in a cell phone number, uploading a document, and clicking a box.

       30.     The platform and software then show the user the location of a cell phone on a

map in near real time.

       31.     A user is supposed to upload a document to the Securus platform identifying and

confirming the legal basis on which the “ping” is based.

       32.     However, Securus’s platform and software provide no safeguards to ensure that

any particular “ping” request is legitimate.

       33.     And Securus provides no further in-person review of any particular request.

       34.     Mr. Hutcheson for example, routinely uploaded various documents to Securus’s

platform that have no legal basis in obtaining LBS.

       35.     Mr. Hutcheson obtained LBS through Securus by submitting his health insurance

policy to the platform.

       36.     Mr. Hutcheson obtained LBS through Securus by submitting his auto insurance

policy to the platform.



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        37.     Mr. Hutcheson obtained LBS through Securus by submitting pages from the

Sheriff’s training materials to the platform.

        38.     Mr. Hutcheson obtained LBS through Securus by submitting documents that had

been notarized by himself.

        39.     Mr. Hutcheson obtained LBS through Securus by submitting documents

purporting to grant permission to obtain LBS by the individual cell phone users when in fact no

such permission was given.

        40.     Mr. Hutcheson obtained location information and other information of Plaintiffs,

other law enforcement personnel, a state judge and others through Securus’s LBS platform.

                  COUNT I—1983 ACTION AGAINST MR. HUTCHESON

        41.     Plaintiffs incorporate the preceding paragraphs herein.

        42.     The Fourth Amendment of the United States Constitution states:

        The right of the people to be secure in their persons, houses, papers, and effects, against
        unreasonable searches and seizures, shall not be violated, and no warrants shall issue, but
        upon probable cause, supported by oath or affirmation, and particularly describing the
        place to be searched and the persons or things to be seized.

        43.     “Pinging” a cell phone constitutes a search and seizure under the Fourth

Amendment and is an invasion of the reasonable expectation of privacy of citizens.

        44.     Mr. Hutcheson’s actions constitute an unreasonable search and seizure in that they

were conducted without probable cause, lawful warrant or other process.

        45.     Mr. Hutcheson’s acts were committed under color of state law.

        46.     Mr. Hutcheson’s acts violated clearly established statutory and constitutional

rights of which a reasonable person would have known.

        47.     Mr. Hutcheson’s acts were committed with reckless and/or callous indifference to

the rights of Plaintiffs and others.

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       WHEREFORE, Plaintiffs respectfully pray this Court to:

               a. Grant compensatory damages to Plaintiffs;

               b. Grant punitive damages to Plaintiffs; and

               c. Grant Plaintiffs’ costs of this action, including reasonable attorneys’ fees

                   pursuant to 42 U.S.C. § 1988.

                      COUNT II—1983 ACTION AGAINST SECURUS

       48.     Plaintiffs incorporate the preceding paragraphs herein.

       49.     Securus entered into a contract with Mississippi County to provide LBS and

specifically, to allow Mississippi County personnel, such as Mr. Hutcheson, to “ping” cell

phones.

       50.     In providing LBS, Securus is performing an activity that is traditionally reserved

to the state, i.e. investigation and information gathering on alleged criminals.

       51.     “Pinging” a cell phone constitutes a search and seizure under the Fourth

Amendment and is an invasion of the reasonable expectation of privacy of citizens.

       52.     Securus acted in joint participation with both Mississippi County, Missouri and

Mr. Hutcheson when Securus provided LBS.

       53.     In order to make LBS more valuable, Securus intentionally makes it easier for

users to obtain LBS by turning a blind eye to the documents uploaded to its platform and by

refusing to implement procedures to review requests for LBS.

       54.     Securus’s actions and Mr. Hutcheson’s actions constitute an unreasonable search

and seizure in that they were conducted without probable cause, lawful warrant or other process.

       55.     Securus’s acts and Mr. Hutcheson’s acts were committed under color of state law.




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           56.    Securus’s acts and Mr. Hutcheson’s acts violated clearly established statutory and

constitutional rights of which a reasonable person would have known.

           57.    Securus’s acts and Mr. Hutcheson’s acts were committed with reckless and/or

callous indifference to the rights of Plaintiffs and others.

           WHEREFORE, Plaintiffs respectfully pray this Court to:

                  a. Grant compensatory damages to Plaintiffs;

                  b. Grant punitive damages to Plaintiffs; and

                  c. Grant Plaintiffs’ costs of this action, including reasonable attorneys’ fees

                     pursuant to 42 U.S.C. § 1988.

             COUNT III—INVASION OF PRIVACY AGAINST MR. HUTCHESON

           58.    Plaintiffs incorporate the preceding paragraphs herein.

           59.    Plaintiffs had a reasonable expectation of privacy in their locations and private

affairs.

           60.    Mr. Hutcheson’s actions constitute an intrusion upon the solitude, seclusion and

private affairs of Plaintiffs.

           61.    Mr. Hutcheson’s actions were unreasonable and highly offensive to a reasonable

person.

           62.    As a direct and proximate result of Mr. Hutcheson’s conduct identified herein,

Plaintiffs have suffered damages, including but not limited emotional distress, anxiety and

humiliation associated with being illegally monitored and being the subject of the investigation

and prosecution of Mr. Hutcheson.

           63.    Mr. Hutcheson’s actions were outrageous due to his evil motive and/or reckless

indifference to the rights of Plaintiffs and others.



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           WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor, and award

them compensatory damages and punitive damages in an amount that is fair and reasonable in

excess of $25,000, award their costs and attorneys’ fees where available, and such other and

further relief as is just and proper under the circumstances.

                     COUNT IV—INVASION OF PRIVACY AGAINST SECURUS

           64.   Plaintiffs incorporate the preceding paragraphs herein.

           65.   Plaintiffs had a reasonable expectation of privacy in their locations and private

affairs.

           66.   Securus’s actions and Mr. Hutcheson’s actions constitute an intrusion upon the

solitude, seclusion and private affairs of Plaintiffs.

           67.   Securus’s actions and Mr. Hutcheson’s actions were unreasonable and highly

offensive to a reasonable person.

           68.   As a direct and proximate result of Securus’s conduct identified herein, Plaintiffs

have suffered damages, including but not limited emotional distress, anxiety and humiliation

associated with being illegally monitored and being the subject of the investigation and

prosecution of Mr. Hutcheson.

           69.   Securus’s actions and Mr. Hutcheson’s actions were outrageous due to their evil

motive and/or reckless indifference to the rights of Plaintiffs and others.

           WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor, and award

them compensatory damages and punitive damages in an amount that is fair and reasonable in

excess of $25,000, award their costs and attorneys’ fees where available, and such other and

further relief as is just and proper under the circumstances.




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                      COUNT V—NEGLIGENCE AGAINST SECURUS

        70.     Plaintiffs incorporate the preceding paragraphs herein.

        71.     Securus had a duty to safeguard the private location information and other

information of citizens such as Plaintiffs.

        72.     It was reasonably foreseeable to Securus that individuals such as Mr. Hutcheson

would illegally obtain information through the LBS platform without proper identification,

authentication and security procedures.

        73.     Securus knew or by the use of ordinary care should have known that its LBS

platform allowed individuals such as Mr. Hutcheson to illegally obtain private information.

        74.     Securus breached its duty and was negligent by failing to have a person or system

in place to review and authenticate documents and other information submitted to the LBS

platform.

        75.     As a direct and proximate result of Securus’s conduct identified herein, Plaintiffs

have suffered damages, including but not limited emotional distress, anxiety and humiliation

associated with being illegally monitored and being the subject of the investigation and

prosecution of Mr. Hutcheson.

        76.     Securus’s actions were outrageous due to its evil motive and/or reckless

indifference to the rights of Plaintiffs and others.

        WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor, and award

them compensatory damages and punitive damages in an amount that is fair and reasonable in

excess of $25,000, award their costs and attorneys’ fees where available, and such other and

further relief as is just and proper under the circumstances.




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                                           Respectfully submitted,

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                                           By     /s/ Curtis O. Poore
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                                           ATTORNEYS FOR PLAINTIFFS

                               CERTIFICATE OF SERVICE


       I hereby certify that on September 10, 2019 the foregoing was filed electronically with
the Clerk of Court to be served by operation of the Court’s electronic filing system to the
attorneys of record in this case.



                                                         /s/ Curtis O. Poore




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